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 8
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 9   UNITED STATES OF AMERICA

10                          UNITED STATES DISTRICT COURT

11                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

12   IN THE MATTER OF THE SEARCH OF:         No. 18-1592M
     SUBJECT DEVICES 1-20 AS
13   IDENTIFIED IN ATTACH. A THAT            GOVERNMENT’S EX PARTE APPLICATION
     WERE SEIZED ON 05/24/2018, AND          FOR FIRST EXTENSION OF TIME WITHIN
14   PRESENTLY IN THE CUSTODY OF THE         WHICH TO RETAIN AND SEARCH DIGITAL
     FEDERAL BUREAU OF INVESTIGATION         DEVICES; DECLARATION OF KAREN I.
15   IN LOS ANGELES, CALIFORNIA              MEYER

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18        The United States of America, by and through its counsel of
19   record, Assistant United States Attorney Karen I. Meyer, hereby
20   applies for an order extending by 120 days from October 18, 2018, the
21   time within which the government may retain and search digital
22   devices seized pursuant to a federal search warrant.
23   //
24   //
25   //
26   //
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 1        This application is based on the attached declaration of Karen

 2   I. Meyer and the files and records of this case, including the

 3   underlying search warrant and affidavit in support thereof.

 4   Dated: October 17, 2018              Respectfully submitted,

 5                                        NICOLA T. HANNA
                                          United States Attorney
 6
                                          LAWRENCE S. MIDDLETON
 7                                        Assistant United States Attorney
                                          Chief, Criminal Division
 8

 9                                            /s/
                                          KAREN I. MEYER
10                                        Assistant United States Attorney

11                                        Attorneys for Applicant
                                          UNITED STATES OF AMERICA
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 1                          DECLARATION OF KAREN I. MEYER
 2        I, Karen I. Meyer, hereby declare and state:

 3        1.      I am an Assistant United States Attorney assigned to this

 4   investigation for United States Attorney’s Office for the Central

 5   District of California.

 6        2.      This declaration is made in support of a request for an

 7   order permitting the government to retain and search, pursuant to the

 8   terms of the original warrant in this matter, for an additional 120

 9   days from October 18, 2018, the following digital devices seized

10   pursuant to the warrant described below (the “SUBJECT DIGITAL

11   DEVICES”):

12                a.   One gray colored Lenovo laptop 120S-14IAP, model name

13   81A5, bearing serial number YD03RAWW (“SUBJECT DEVICE 1”);

14                b.   One gray colored Dell Inspiron laptop, model number

15   PP20L, bearing serial number (01)07898349891747 (“SUBJECT DEVICE 2”);

16                c.   One black HP computer, model TPC-F025-SF, bearing

17   serial number MXL2380LKR (“SUBJECT DEVICE 3”);

18                d.   One black Toshiba hard drive, bearing serial number

19   64DATZX4T18B, 2TB capacity (“SUBJECT DEVICE 4”);

20                e.   One black Toshiba hard drive, bearing serial number

21   28LBTZVBT10F, 1TB capacity (“SUBJECT DEVICE 5”);

22                f.   One black Toshiba hard drive, model number

23   HDDR320E03X, bearing serial number 58LST2GDTC73, 320GB capacity

24   (“SUBJECT DEVICE 6”);

25                g.   One white colored Nikon Camera, model Coolpix S33,

26   bearing serial number 30110184, 25MB internal storage (“SUBJECT

27   DEVICE 7”);

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 1              h.    One black Canon camera, model number EOS 5D Mark III,

 2   bearing serial number 332022001369 with internal storage capability

 3   (“SUBJECT DEVICE 8”);

 4              i.    One Sony premium mini digital video cassette bearing

 5   model marking number 04HC2304H 1714 (“SUBJECT DEVICE 12”);

 6              j.    One 16 GB Lexar Platinum II SD Card, recovered from

 7   SUBJECT DEVICE 7 (“SUBJECT DEVICE 13”);

 8              k.    One T-Mobile SIM card, bearing Integrated Circuit Card

 9   Identifier (“ICCID”) 260410029431705 (“SUBJECT DEVICE 14”);

10              l.    Approximately 180 miscellaneous compact discs

11   consisting of CDs and DVDs (collectively, “SUBJECT DEVICE 15”);

12              m.    One black iPhone 5 cellular telephone, bearing model

13   number A1426 and International Mobile Equipment Identity (“IMEI”)

14   013333006462394 (“SUBJECT DEVICE 18”);

15              n.    One black Alcatel cellular telephone, bearing model

16   number 5065N and IMEI 014705000643203 (“SUBJECT DEVICE 19”);

17              o.    One silver iPhone 5 cellular telephone, bearing model

18   number A1549 and IMEI 356986067061788 (“SUBJECT DEVICE 20”); and

19              p.    One mini digital video cassette, bearing model marking

20   number 53HC4407E 0929, which was inside SUBJECT DEVICE 10, the

21   Panasonic camcorder (“SUBJECT DEVICE 21”).

22        3.    On May 24, 2018, officers with the Los Angeles Police

23   Department (“LAPD”) executed an arrest and search warrant, number

24   CC18-79323, signed by the Honorable S. Armstead of the Los Angeles

25   County Superior Court, authorizing the search of MIGUEL ANGEL BATZ,

26   JR.’s residence, located at 2937 South Thurman Avenue, Los Angeles,

27   California, and his business, located at 22025 South Avalon

28   Boulevard, Carson, California.      The SUBJECT DEVICES were seized and

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 1   on June 13, 2018, were transferred to the custody of the Federal

 2   Bureau of Investigation (“FBI”).

 3        4.    On June 20, 2018, FBI Special Agent (“SA”) Emily Tripp

 4   obtained a federal search warrant issued by the Honorable Patrick J.

 5   Walsh, United States Magistrate Judge, authorizing the search of

 6   SUBJECT DEVICES 1-20 that were seized on May 24, 2018.          The warrant,

 7   which is incorporated herein by reference, authorized the seizure of

 8   digital devices from the SUBJECT PREMISES for a period of 120 days

 9   from the issuance of the federal warrant to allow the government to

10   search such devices for evidence of violations of Title 18, United

11   States Code, § 2251 (a), (e), attempted production of child

12   pornography; Title 18, United States Code, § 2252A(a)(2)(A), (b)(1),

13   attempted receipt of child pornography; and Title 18, United States

14   Code, § 2433(b), enticement.

15        5.    This is the first request for an extension.         The current

16   deadline by which the government must complete its review of the

17   SUBJECT DIGITAL DEVICES is October 18, 2018.

18        6.    Based on information provided to me by the agent assigned

19   to this matter, I understand that following the issuance of the

20   federal search warrant, the seized digital devices were turned over

21   to the FBI’s Computer Analysis Response Team (“CART”) in Los Angeles.

22   The CART Agent assigned to image the devices was able to complete the

23   images and upload them into a forensic search tool, which allows the

24   case agent to identify known images of child pornography as well as

25   label all other photographs on the SUBJECT DIGITAL DEVICES as

26   pertinent or non-pertinent.

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 1        7.      For the following reasons, the government is requesting an

 2   additional 120 days from October 18, 2018, to complete its review of

 3   certain of the SUBJECT DEVICES:

 4                a.   The forensic review of digital devices is time

 5   consuming.    Agents cannot simply turn on computers and review their

 6   contents because merely turning on a computer and reviewing its

 7   contents changes the data on the computer.        Specialized computer

 8   software is therefore needed to ensure that evidence remains in a

 9   pristine and usable condition, and is not affected by the review

10   process.   The review also must be conducted by agents who have

11   received specialized training to ensure that the review is done

12   thoroughly and in a forensically sound fashion.         This process takes

13   substantial time.

14                b.   On August 13, 2018, SA Tripp was informed the case

15   files were available to view on the FBI CART server.          The SUBJECT

16   DEVICES 1-6 contain approximately 6952 gigabytes of information.

17   Based on her training and experience, SA Tripp knows that one

18   gigabyte could hold the contents of about ten yards of books on a

19   shelf.    One hundred gigabytes could hold an entire library floor of

20   academic journals.

21                c.     SA Tripp has bookmarked 296 GB of data from SUBJECT

22   DEVICES 1-6 as having evidentiary value and continues to review

23   SUBJECT DEVICES 1-6.     SA Tripp has completed the review process for

24   SUBJECT DEVICES 9-11 and 16-17.1      SUBJECT DEVICES 9 and 10 do not

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          1 SUBJECT DEVICE 9 is a black Canon camcorder, bearing serial
26   number 422250100022, 32GB internal storage. SUBJECT DEVICE 10 is a
     Panasonic camcorder, bearing model number PV-GS80. SUBJECT DEVICE 11
27
     is one Sony premium mini digital video cassette bearing model marking
28   number 04HC2304H 1714. SUBJECT DEVICE 16 is a 16 GB San Disk Ultra

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 1   contain any evidence within the scope of the warrant.2          SUBJECT

 2   DEVICES 11, 16 and 17 do contain evidence within the scope of the

 3   warrant and, therefore, can be retained.

 4                d.   On August 10, 2018, SA Tripp submitted SUBJECT DEVICE

 5   21 to the Regional Computer Forensic Lab (“RCFL”) to be unlocked for

 6   review.   The RCFL uses specialized computer software to decrypt

 7   passcodes.    This process can take a significant amount of time

 8   because there is a waiting period between decryption attempts.

 9                e.   Between August 13, 2018, and August 17, 2018, SA Tripp

10   was attending the Dallas Crimes Against Children Conference in

11   Dallas, Texas.    Between September 11, 2018, and September 14, 2018,

12   SA Tripp was attending the Child Sex Trafficking Awareness and

13   Response Training Program in Whittier, California.

14                f.   From June 22, 2018, to October 12, 2018, SA Tripp

15   began a preliminary review of SUBJECT DEVICE 18.         SUBJECT DEVICE 18

16   contains approximately 37,233 timeline events, which includes 18,689

17   written communications, and approximately 44,000 images.           In some of

18   the written communications, BATZ tells an unidentified person he had

19   sex with a 16-year-old female.      In another written communication,

20   BATZ obtains pornographic videos from a person who identifies herself

21   (and law enforcement has confirmed) as 16 years old and sends the 16-

22   year-old a video of himself masturbating.

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24   SD card, recovered from SUBJECT DEVICE 8. SUBJECT DEVICE 17 are
     three 16 GB San Disk Ultra SD Cards, recovered from a desk drawer.
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26        2 The government is not able to return SUBJECT DEVICES 9 and 10
     to Mr. Batz because it has determined that Mr. Batz failed to appear
27   for arraignment in state court because he fled the United States for
     Guatemala. Mr. Batz does not have assigned defense counsel to whom
28   his property could be returned. He would have been appointed counsel
     at the arraignment hearing.
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